
Ransom, S.
Heretofore on the application of certain creditors of deceased and the petitioners herein, the administratrix was required to render an intermediate account of her proceedings. To such account objections have been filed; and now an application is made for the appointment of a referee to pass upon the account and objections. This is opposed by the administratrix on the ground that on November 26, 1888, a year will have expired since letters were issued to her, and at that time she can be compelled to render her final account; and if this intermediate account and objections are sent to a referee, it will entail an additional and apparently needless expense upon the estate. I think this is a reasonable ground for suspending this motion until the year has expired, at which time, if no application for the judicial settlement of her account is made by the administratrix or parties interested, this motion will be granted.
